                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. 05-CR-100-LRR
 vs.                                                ORDER REGARDING
                                              MAGISTRATE JUDGE’S REPORT
 CURTIS MAXWELL,                                 AND RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                       MOTION TO WITHDRAW
                                                       GUILTY PLEA
                                  ____________________

                                   I. INTRODUCTION
         The matter before the court is Defendant Curtis Maxwell’s Motion to Withdraw
Guilty Plea (“Motion”) (docket no. 43), filed on May 17, 2006. The matter was referred
to Chief Magistrate Judge John A. Jarvey for the issuance of a Report and
Recommendation. On July 11, 2006, Magistrate Judge Jarvey issued a Report and
Recommendation in which he recommended denying Defendant’s Motion. Objections to
the Report and Recommendation were due on July 25, 2006. No objections have been
filed. The court, therefore, undertakes the necessary review of Magistrate Judge Jarvey's
recommendation to deny Defendant’s Motion in this case.
                                      II. ANALYSIS
         Pursuant to statute, this court’s standard of review of a magistrate judge’s Report
and Recommendation is as follows:
               A judge of the court shall make a de novo determination of
               those portions of the report or specified proposed findings or
               recommendations to which objection is made. A judge of the
               court may accept, reject, or modify, in whole or in part, the
               findings or recommendations made by the magistrate [judge].



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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
               The district judge to whom the case is assigned shall make a de
               novo determination upon the record, or after additional
               evidence, of any portion of the magistrate judge’s disposition
               to which specific written objection has been made in
               accordance with this rule. The district judge may accept,
               reject, or modify the recommended decision, receive further
               evidence, or recommit the matter to the magistrate judge with
               instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Magistrate Judge Jarvey's findings and conclusions that there is no ground to reject or
modify them.
      For the foregoing reasons, the court hereby ORDERS:
      (1)      The    court   ACCEPTS         Magistrate     Judge    Jarvey’s Report and
               Recommendation of July 11, 2006 (docket no. 54); and
      (2)      The court DENIES Defendant’s Motion to Withdraw Guilty Plea (docket no.
               43).
      IT IS SO ORDERED.
      DATED this 27th day of July, 2006.




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